    CASE 0:07-cr-00278-PAM-AJB   Doc. 352   Filed 11/07/08   Page 1 of 1



                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       Criminal No. 07-278(PAM)


UNITED STATES OF AMERICA,     )
               Plaintiff,     )
                              )       ORDER
v.                            )
                              )
(1) JAFARI TYWAN BANKS, and   )
(3) CORNELIUS WINFIELD WALKER )
               Defendants.    )


        This matter is before the Court on the government’s motion to

seal.     NOW, THEREFORE, IT IS HEREBY ORDERED that the government’s

motion is granted.



Dated: November 7, 2008




                                 S/Paul A. Magnuson
                                 THE HONORABLE PAUL A. MAGNUSON
                                 United States District Judge
                                 District of Minnesota
